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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 PATRICE PITTS, ET AL.,
                 Plaintiffs,

                                                              CA: 14-cv-1319 (TSC)
           v.

 THE DISTRICT OF COLUMBIA, ET AL.,

                 Defendants.

                                 STIPULATION OF DISMISSAL

       Plaintiffs and the District of Columbia hereby stipulate to the dismissal of this case with

prejudice, having reach a full and final settlement of all claims. Fed. R. Civ. P. 41(a).

Respectfully submitted,

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